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            In the United States District Court for the
          Eastern District of Missouri, Northern Division
                            at Hannibal

     Hannibal-LaGrange
     University,
             Plaintiff,
     vs.
                                                 Case No.
     Linda McMahon, in her
     official capacity as United
     States Secretary of
     Education,
                 and
     The United States
     Department of Education
             Defendants.


                                Verified Complaint
        1. Plaintiff Hannibal LaGrange University (HLGU) seeks declaratory and

           injunctive relief against a federal regulation that became effective near the

           tail end of the Biden administration; the regulation imposes an

           unconstitutional and unauthorized requirement on many religious colleges

           and universities.

        2. In July 2024, the U.S. Department of Education started enforcing a new
           amendment to 34 C.F.R. § 668.14(a)(3); the Department now says any

           group with the power to name an educational institution’s board must co-

           sign the institution’s agreement with the Department (or name an agent to

           sign). Without the co-signed agreement, the institution cannot participate

           in Title IV programs. See Exhibit A, “Financial Responsibility,




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           Administrative Capability, Certification Procedures, Ability to Benefit

           (ATB),” 88 Federal Register 74,568 (October 31, 2023) (codified at 34

           C.F.R. Part 668) (“the Regulation”).

        3. This “Co-Signature Mandate” unlawfully burdens Plaintiff HLGU’s

           method of naming the leaders of this religious University, who are selected

           by local churches affiliated with the Missouri Baptist Convention,

           consistent with HLGU’s Baptist beliefs.

        4. Plaintiff HLGU is a private, Christian university affiliated with the Missouri

           Baptist Convention (“MBC”); the Convention is an incorporated

           association of churches that selects the University’s trustees at an annual

           two-day meeting in late October. This allows the Churches to judge the

           essentially religious or spiritual qualifications of HLGU’s trustee-leaders.

        5. The Department now asserts that HLGU may not enter a new or amended

           PPA, or expand Title IV programs, unless the MBC signs—or formally

           designates a representative to sign—agreements with the Department.

        6. The regulation, as being applied, places HLGU in an impossible position: it

           must (a) ask MBC to give up its rights, contrary to HLGU’s religious

           beliefs; (b) obtain MBC’s signature to a federal agreement that contradicts

           HLGU and MBC’s Baptist beliefs and creates legal uncertainty for both; or

           (c) lose eligibility to participate in Title IV student aid programs, if MBC

           refuses.

        7. The Higher Education Act does not authorize this mandate. 20 U.S.C. §

           1094 allows two — and only two—parties to Participation Agreements: the

           Institution, and the Secretary.




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        8. Nor should the Regulation apply to HLGU, because HLGU’s “member”

           is not an “owner” of HLGU, and the Regulation only applies to entities

           with “direct or indirect ownership.” Yet the Department insists the MBC

           “owns” HLGU, contrary to settled law in Missouri and many other states.

        9. The Department’s interpretation not only exceeds its statutory authority,

           but also violates the Religious Freedom Restoration Act, the First

           Amendment’s protections for church autonomy and free exercise, and the

           Fifth Amendment’s guarantee of equal treatment under federal law.

        10. HLGU sues to preserve its constitutional rights, to protect its religious

           convictions, and to ensure that it (and similarly situated institutions) may

           continue serving students without unlawful federal interference in the

           selection of university leaders by affiliated churches.



                     PARTIES, VENUE, & JURISDICTION

        11. This action arises under the Constitution and laws of the United States. The

           Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 & 1361,
           jurisdiction to render declaratory and injunctive relief under 28 U.S.C. §§

           2201 & 2202, 42 U.S.C. § 2000bb-1, 5 U.S.C. § 702, and Fed. R. Civ. P. 65,

           and to award reasonable attorney’s fees and costs under the Equal Access

           to Justice Act, 28 U.S.C. § 2412, and RFRA, 42 U.S.C. § 1988.

        12. Venue lies in this district pursuant to 28 U.S.C. §1391(e). A substantial part

           of the events or omissions giving rise to the claim occurred in this district,

           and Plaintiff HLGU is in this district.




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                         IDENTIFICATION OF PARTIES

        13. Plaintiff   Hannibal-LaGrange     University    is   a    Missouri   nonprofit

            corporation, which operates from its campus in Marion County, Missouri.

        14. HLGU formed in 1928 as the merger of Hannibal College (1857) and

            LaGrange College (1858). The citizens of Hannibal pledged over $200,000

            in 1928 to re-establish a Baptist college in the city, and Plaintiff’s Trustees

            have been elected by Missouri Baptists ever since.

        15. Plaintiff began granting four-year degrees in 1980 and adopted the name

            Hannibal-LaGrange University in 2010.

        16. HLGU’s eleemosynary mission is “to provide an excellent education in

            both liberal arts and professional disciplines in a distinctively Christian

            environment that integrates Christian faith and learning in preparing

            graduates for personal and career effectiveness.”

        17. A copy of HLGU’s Articles of Incorporation is attached at Exhibit B.

        18. Defendant United States Department of Education is a department of the

            Executive Branch; it is headquartered in Washington, D.C., and maintains

            a regional office in Kansas City, Missouri. Department is an executive

            agency of the United States government and is responsible for the

            promulgation, administration, and enforcement of the Regulation at issue.

        19. Defendant Linda McMahon is the Secretary of the Department and is sued

            here in her official capacity.




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                     FACTS COMMON TO ALL COUNTS

                   HLGU’s History and Religious Beliefs

        20. Since 1857, Plaintiff HLGU has been affiliated with Missouri Baptists.

        21. Since 1928, messengers from Missouri Baptist churches have met at an

           annual convention, and among other business, the messengers have directly

           elected HLGU’s Trustees.

        22. The MBC-HLGU relationship reflects HLGU’s religious convictions.

           Baptists oppose theological hierarchies; affiliated schools give Baptist

           churches the ultimate authority to name the Trustees of these important

           religious institutions.

        23. While day-to-day control of the school remains vested in Trustees, the

           authority to judge the spiritual qualifications of HLGU’s trustees-leaders is

           held by the local churches.

        24. Under Baptist principles of congregationalism, the supreme earthly

           authority in spiritual matters is vested in local churches. Thus, these

           churches are best equipped to decide whether Trustees are upholding the

           University’s mission of providing a “distinctively Christian environment,”

           and whether the University is “integrat[ing] Christian faith and learning”

           consistent with Baptist beliefs.

        25. While not termed “ministers” in Baptist parlance, the Trustees of HLGU

           are “ministers” for First Amendment purposes, as leaders of a religious

           institution, approved by the churches, charged with educating the next

           generation about the Baptist faith.




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     HLGU’s Participation in Title IV and Program Participation
                            Agreements

        26. In September 2023, HLGU received its latest notice from the Department

           that HLGU was an “eligible institution” under the Higher Education Act

           of 1965, and so an eligible choice for students using Title IV funds.

        27. The letter from the Department stated that “Together, the Program

           Participation Agreement that has been signed on behalf of the Secretary and
           the [Eligibility and Certification Approval Report] constitute the

           Department’s determination that the Institution has qualified to participate

           in programs under the Higher Education Act of 1965, as amended (HEA)

           and the Federal student financial assistance programs (Title IV, HEA

           programs).”

        28. The Approval expires on June 30, 2026, unless extended.

        29. At the same time, HLGU was issued a “Program Participation Agreement”

           signed on behalf of the Secretary and by an HLGU official.

        30. The PPA is the contract between the Institution and the Department,

           wherein the Institution agrees to be bound by terms and conditions

           applicable to it as an Institution.

        31. HLGU’s 2023 PPA included a requirement that it must “apply for and

           receive approval by the Secretary for expansion or any substantial

           change….” Substantial changes were defined to include “establishment of




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           an additional location; (b) increase in the level of academic offering…; or

           (c) addition of any educational program.”



            The Department’s Regulation and New Signature
                            Requirement

        32. In October 2023, the U.S. Department of Education finally adopted a new

           Regulation,     “Financial    Responsibility,    Administrative      Capability,

           Certification   Procedures,    Ability   to     Benefit    (ATB),”    including
           amendments to 34 C.F.R. § 668.14. Ex. A.

        33. According to the new § 668.14(3):
                  An institution’s program participation agreement must be signed
                  by—
                  (i)     An authorized representative of the institution; and
                  (ii)    For a proprietary or private nonprofit institution, an
                          authorized representative of an entity with direct or indirect
                          ownership of the institution if that entity has the power to
                          exercise control over the institution…
                   (emphases added).

        34. Only if the Secretary determines an entity has “direct or indirect

           ownership,” does § 668.14(3)(ii) goes on to create an in-house test for “the

           power to exercise control,” by stating:
                  The Secretary considers the following as examples of circumstances
                  in which an entity has such power:
                         (A) If the entity has at least 50 percent control over the
                         institution through direct or indirect ownership, by voting
                         rights, by its right to appoint board members to the
                         institution or any other entity, whether by itself or in
                         combination with other entities or natural persons with
                         which it is affiliated or related, or pursuant to a proxy or
                         voting or similar agreement.




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                           (B) If the entity has the power to block significant actions.
                           (C) If the entity is the 100 percent direct or indirect interest
                           holder of the institution.
                           (D) If the entity provides or will provide the financial
                           statements to meet any of the requirements of 34 C.F.R.
                           600.20(g) or (h) or subpart L of this part.
        35. The amendment to § 668.14 was effective July 1, 2024.

        36. The Department sought to impose a strikingly similar requirement on some

           schools before July 1, 2024, under a March 23, 2022, Guidance letter. See

           Electronic    Announcement        GENERAL-22-16:         Updated      Program

           Participation Agreement Public Institutions of Higher Education, Mar. 23,

           2022. See https://fsapartners.ed.gov/knowledge-center/library/electronic-
           announcements/2022-03-23/updated-program-participation-agreement-

           signature-requirements-entities-exercising-substantial-control-over-non-

           public-institutions-higher-education

        37. According to the Department’s commentary accompanying the new

           regulation, the requirement is intended to ensure financial accountability

           from entities that “own” participating institutions, including situations

           where corporate structures might require the government to make a
           heightened showing (such as improper purpose or fraud) before taking

           assets from related corporations. Thus, the goal was to expose more assets

           to Government claims.

        38. The regulation applies on its face to for-profit institutions with corporate

           parent entities, and multi-campus networks where ownership and control

           are centralized. It does not explicitly address nonprofit religious institutions

           with member-elected boards.




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        39. Still, the Department has interpreted the amended regulation to apply to

           Plaintiff HLGU, asserting that HLGU’s religious affiliation with the

           Missouri Baptist Convention (MBC)—a nonprofit religious association of

           churches that selects HLGU’s trustees—creates both “indirect

           ownership” and “control” of HLGU by the MBC, under § 668.14(a)(3).

        40. Under this interpretation, the Department has demanded that MBC (a) give

           up its rights to elect Trustees, (b) sign the PPA directly or (c) designate a

           representative—such as the President of HLGU—to sign on its behalf,

           thereby binding the MBC to the obligations of the agreement and other

           regulatory requirements.

        41. The Department has made clear that without such a signature or

           designation, HLGU may not amend its current PPA or expand its program

           offerings and will not be eligible to recertify its agreement when it expires in

           2026.

        42. The Department’s interpretation marks a significant departure from

           longstanding practice under the Higher Education Act, which authorizes

           participation agreements only between the institution and the Secretary. See

           20 U.S.C. § 1094(a)(1).

        43. The Department’s application of the co-signature requirement to HLGU

           imposes legal obligations on a third-party religious convention that is not an

           “owner” of the University, does not control the operations of the

           University, holds no assets of HLGU, and plays an important religious role

           in selecting doctrinally and spiritually qualified leaders of affiliates.




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         44. This new mandate violates HLGU’s constitutional, statutory, and

            procedural rights, forming the basis of the claims raised in this Complaint.



           HLGU’s Attempts to Comply and Seek Clarification

         45. In early 2024, HLGU began to seek the required DOE approval for new

            educational offerings, including a prison education program developed in
            partnership with the Missouri Department of Corrections. See ¶ 31, supra.

         46. According to the Department, this process required an “update/addition”

            to the current PPA.

         47. As required, HLGU first secured approval for the new program from its

            accreditor, the Higher Learning Commission, in February 2024.

         48. Following accreditor approval, HLGU accessed the Department’s online

            PPA submission system to begin the required application for program

            expansion.

         49. HLGU was surprised to find new fields that required disclosure of

            “ownership” information. The system prompted HLGU to identify any
            entity with the power to appoint a majority of its board, and to provide

            contact information for the “CEO” and “CFO” of such entity.

         50. HLGU sought clarification from the Department’s Kansas City Office,

            telling the office that “We are a non-profit religiously affiliated institution

            of higher education. The only individuals who vote are our trustees.”




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         51. On April 4, 2024, Department staff instructed HLGU: “When completing

            the ownership structure section please be sure to list the entity owner as

            ‘Missouri Baptist Convention, Board of Trustees’.”

         52. On April 24, 2024, HLGU requested more clarification from the

            Department. In its correspondence, HLGU explained that under Missouri

            non-profit law, religious members are not “owners” of charitable

            corporations. HLGU cited Farrow v. Saint Francis Med. Ctr., 407 S.W.3d

            579 (Mo. 2013), and other applicable authorities, which state that members

            of non-profits are not owners of the non-profit.

         53. In its letter, HLGU also requested that it not be required to identify the

            MBC as an “owner” for purposes of Title IV eligibility and asked for

            guidance on how to proceed.

         54. On May 30, 2024, the Department’s Kansas City School Participation

            Division responded with a letter denying HLGU’s request. “As the sole

            member of HLGU, an authorized representative of MBC will be required to

            sign Hannibal [sic] PPA and will remain on the application as previously

            required.”

         55. The Department acknowledged that, under Missouri law, the MBC would

            not be considered an “owner” of HLGU but stated that “for purposes of

            determining eligibility to participate in Title IV, HEA Programs, the

            Department is not bound by Missouri law.”

         56. The Department’s officials told HLGU that it could not continue in its

            application without providing the requested data, and later obtaining a

            signature on an agreement from the MBC by an authorized representative.




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         57. The Department’s letter emphasized that the MBC’s power to elect

            trustees was sufficient, in its view, to constitute both indirect ownership and

            control for purposes of §668.14(a)(3), triggering the co-signature

            requirement.

         58. Although the letter referenced various corporate governance powers

            attributed to the MBC (which HLGU partly contests), the Department

            relied on a single fact: the MBC’s ability to elect and remove trustees. The

            Department stated, “[E]ven if MBC’s powers were restricted to just

            electing HLGU’s Trustees, as the sole member, MBC would still have

            indirect control over HLGU through these Trustees.”

         59. The letter concluded that “an authorized representative of MBC will be

            required to sign Hannibal[’s] PPA,” and further stated that the decision had

            been reviewed and approved by the Department’s General Counsel’s

            Office.

         60. Under the then-applicable guidance, the Department claimed a signature

            would bind the Convention to new financial liabilities: “By co-signing the

            PPA, the entities (but not the individuals who sign as authorized

            representatives of the entities) agree to assume liability for financial losses

            to the federal government related to the institution’s administration of the

            Title      IV      programs.”          https://fsapartners.ed.gov/knowledge-

            center/library/electronic-announcements/2022-03-23/updated-program-

            participation-agreement-signature-requirements-entities-exercising-

            substantial-control-over-non-public-institutions-higher-education-

            updated-december-2-2024 (last accessed May 27, 2025).




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         61. On October 21, 2024, HLGU asked the Kansas City office whether there

            was any method of appealing this decision.

         62. On October 22, 2024, the Kansas City office responded: “President Matz,

            please be aware that our office seeks advice of the Counsel’s office when we

            are constructing letters to ensure we have the statements included correct

            based on law. The topic of discussion regarding the owner entity and

            signatures in relation to the PPA are in regulations as noted in the letter. I

            have submitted your questions for additional clarification and will provide

            additional information when I can.”

         63. Thereafter, HLGU received no information on any appeal process from the

            Department, until HLGU demanded a religious accommodation in May

            2025.



       The Department Asserts a New “Designation” approach in
                              May 2025

         64. On May 2, 2025, following months of unsuccessful efforts to resolve the

            impasse administratively, HLGU submitted a formal request to the

            Department of Education seeking a religious accommodation from the

            signature requirement under 34 C.F.R. § 668.14(a)(3). A copy is attached as

            Exhibit C.

         65. In its letter, HLGU explained that requiring the Missouri Baptist

            Convention (MBC) to sign the Program Participation Agreement would

            violate the University’s religious commitments and internal governance




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            structure and would improperly entangle the federal government in

            ecclesiastical decision-making.

         66. HLGU’s letter requested that the Department refrain from enforcing the

            co-signature mandate against HLGU and/or MBC and allow the University

            to execute a PPA without requiring any action by the Convention.

         67. For the reasons explained, the Signature requirement appeared to violate

            the law. Moreover, obtaining a signature in a timely manner would be nearly

            impossible.

         68. The Missouri Baptist Convention is an incorporated voluntary association

            of churches that meets for two days each year, normally in late October. It

            holds no assets, apart from its relationship to other church entities. The

            Convention largely reserves the right to act to itself; its officers are not

            authorized to act without approval between annual meetings. The

            Convention has designated another Corporation, the Executive Board of the

            Missouri Baptist Convention, as the Convention’s fiduciary between

            meetings, but outside narrow parameters has not authorized the Executive

            Board to take actions “for” the Convention without messenger approval.

         69. Thus, HLGU could not obtain a binding signature from the Convention,

            outside an action at an October annual meeting. And HLGU would expect

            messengers, if fully informed about the consequences of the action, to

            decline to authorize a signature because of Baptist church-state beliefs.

         70. On May 8, 2025, officials from the Department convened a videoconference

            with representatives from HLGU and a similarly situated Baptist-affiliated

            institution to discuss the request.




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         71. During the call, Department officials acknowledged the religious liberty

            concerns raised by HLGU and expressed a desire to identify a workable

            solution. But they explained that the Department remained bound by the

            regulation and could not issue a categorical exemption.

         72. Instead, Department officials proposed a revised procedure through which

            the MBC, as the entity deemed to “own” and “control” HLGU, could

            designate an individual—such as the University’s President—to sign the

            PPA on the MBC’s behalf.

         73. Officials suggested that this designation could be issued in the form of a

            letter on MBC letterhead, signed by a person authorized to act for the

            Convention.

         74. Orally, representatives of the Department stated that the signature would

            not create any liability. It was unclear, however, if this was a new promise

            that the MBC would not incur liability, or whether this was a restatement of

            the position in the earlier guidance that “…the entities (but not the

            individuals who sign as authorized representatives of the entities) agree to

            assume liability ….” See ¶60, supra.

         75. On May 15, 2025, the Department issued a formal letter to HLGU

            confirming its revised interpretation of the regulation. A copy of the letter

            is attached as Exhibit D.

         76. The letter reaffirmed the Department’s view that the MBC “has the power

            to exercise control over [HLGU]” by virtue of its right to appoint and

            remove trustees and therefore qualifies as an entity whose authorized




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            representative must sign the PPA under § 668.14(a)(3) — a claim HLGU

            denies.

         77. The Department stated that MBC could satisfy this requirement by

            designating an individual to sign on its behalf, and that such designation

            would remain effective until revoked or replaced by a subsequent

            designation from the entity.

         78. The letter added that any prior contrary determinations had been rescinded,

            but that the new policy would not apply retroactively.

         79. The letter did not address whether the proposed designation approach

            would expose the MBC to financial liability or regulatory obligations under

            the PPA; 34 CFR § 668.14 appears to impose additional requirements on all

            signatories.

         80. Nor did the Department’s letter clarify how such a designation would

            function under Missouri law, or how the MBC—an incorporated

            association that meets only once annually in late October—could validly act

            through a corporate resolution or authorized signatory in a timely manner.

         81. HLGU appreciates the desire of the newly appointed Department officials

            to try to find a workable solution, but these officials are hemmed in by the

            requirements created by the Biden Administration’s Department of

            Education.

         82. While the Department’s revised position avoids a direct MBC signature, it

            continues to insist that the MBC must take affirmative action that will result

            in the MBC being bound by an agreement—an action that still creates a legal

            relationship between the MBC and the federal government.




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         83. The designation approach also would impose a new burden on HLGU’s

            religious beliefs, by requiring the President of HLGU to assume a direct

            agency relationship with the MBC — a relationship that HLGU’s President

            does not currently have, and in a litigious environment, HLGU’s President

            does not want to have.

         84. The designation approach does not resolve the constitutional, statutory, or

            religious liberty issues raised in HLGU’s accommodation request. It merely

            shifts the procedural form of the same substantive burden: forced

            participation in a civil contract that burdens decisions of church doctrine

            and governance.

         85. At best, the Department’s designation plan tries to render the MBC’s

            participation a legal nullity, which goes to show that the Government has no

            compelling interest in involving the MBC in this matter at all.

         86. HLGU remains unable to submit new programs for approval or to renew its

            PPA without a signature authorized by the MBC. The risk of regulatory

            noncompliance and institutional ineligibility remains.

         87. As a result, HLGU must now seek judicial relief to protect its legal rights

            and preserve its ability to continue operating in accordance with its religious

            convictions.

      The Immediate Harms to HLGU’s Prison Education Program

         88. In 2021, HLGU launched a prison education initiative titled Freedom on

            the Inside, a bachelor’s degree program in Christian Studies offered within

            the Missouri Department of Corrections.




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         89. The program serves incarcerated men at the Jefferson City Correctional

            Center in Jefferson City, Missouri, providing accredited college-level

            instruction grounded in the University’s Christian mission.

         90. The program has enrolled approximately twenty students and has been well

            received by both prison staff and inmates. HLGU is the only evangelical

            institution offering such a degree program in a Missouri prison.

         91. In 2023, the Department of Education restored Pell Grant eligibility for

            qualified incarcerated students, under statutory changes enacted under the

            FAFSA Simplification Act of 2020.

         92. Prison Education funding was restored because it overwhelmingly supports

            the governmental interests. In addition to creating safer environments for

            people behind bars, Prison Education Programs help ensure that people in

            prison can secure well-paying jobs when they return home and decrease the

            odds that they will return to prison.

         93. HLGU’s Freedom on the Inside program meets all substantive criteria for

            approval as a Prison Education Program under the new Pell Grant rules.

         94. But to receive Pell Grant funds for students enrolled in the program, HLGU

            must obtain Department approval for the program as a “substantial

            expansion” of its existing offerings, which requires an update to its Program

            Participation Agreement.

         95. HLGU cannot obtain the update without satisfying the Department’s

            current signature requirement under 34 C.F.R. § 668.14(a)(3).

         96. Because the Department incorrectly considers the Missouri Baptist

            Convention to be an “entity with ownership” and “control” over HLGU,




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            the Department has refused to process HLGU’s application unless an

            authorized representative of the MBC signs or designates someone to sign

            the PPA.

         97. The MBC has not provided a designation and may be unwilling or unable to

            designate a signer as it violates its ecclesiastical structure and religious

            convictions. Indeed, the Convention can only practically consider the

            matter in its short, October annual meeting. See ¶¶ 68-69, supra.

         98. As a result, HLGU is unable to obtain Pell Grant approval and funds for the

            Freedom on the Inside program, despite being fully eligible in all other

            respects.

         99. HLGU estimates that it has lost $500,000 in tuition revenue to date due to

            the Department’s refusal to approve the program.

         100.       The University cannot afford to scale or sustain the program without

            access to federal student aid, and eligible incarcerated students are being

            denied the opportunity to pursue higher education at HLGU because of the

            impasse.

         101.       HLGU expects to lose an additional $250,000 per semester going

            forward unless the Department’s co-signature mandate is enjoined or

            modified.

         102.       This loss directly impairs the University’s religious mission, which

            includes ministering to underserved populations through education and

            discipleship and further threatens its long-term financial stability.




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         The Regulation Causes HLGU Religious, Financial and
                        Constitutional Harms

         103.       The Department’s interpretation of 34 C.F.R. § 668.14(a)(3)

            imposes significant and escalating burdens on HLGU’s religious beliefs,

            financial viability, and legal rights.

         104.       HLGU is a nonprofit religious institution whose governance reflects

            core Baptist convictions, including congregational polity and that no

            religious hierarchy should be created with greater spiritual authority than

            local churches.
         105.       HLGU has structured itself, then, such that local churches have the

            final say in selecting the leaders of the institution.

         106.       But in giving churches the ultimate authority to select religious

            leaders, HLGU has not given away ownership or day-to-day control.

         107.       The Missouri Baptist Convention does not “own” HLGU, does not

            hold assets of HLGU, and does not manage or control its daily operations.

         108.       Rather, the MBC elects trustee-leaders of HLGU consistent with

            shared religious doctrine and historic Baptist practice. The MBC’s other

            rights — such as the right to receive property (if the Trustees elect to

            dissolve), or the right to approve charter changes (so that the Trustees

            cannot unilaterally remove MBC’s role) — are consistent and coincident

            with these beliefs.

         109.       Baptist beliefs discourage entanglement between churches and the

            government and oppose government interference in private religious

            decisions. See Baptist Faith and Message, Art. XVII, Religious Liberty




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            (“Church and State should be separate…the Church should not resort to

            the civil power to carry on its work…The State has no right to impose

            penalties for religious opinions of any kind ... A free church in a free state is

            the Christian ideal, and this implies …the right to form and propagate

            opinions in the sphere of religion without interference by the civil power.”)

            Available at https://bfm.sbc.net/bfm2000/#xvii (last accessed May 28,

            2025).

         110.        Many Baptist educational institutions, like HLGU, have determined

            that Title IV participation is not “support” or “establishment” by the

            government, as Title IV merely allows students of all faiths to choose any

            qualifying academic institution; the loans are not “government support” in

            the sense of establishing some religions over others. Other Baptist

            institutions would eschew Title IV participation to avoid state entanglement

         111. Here, HLGU believes the State is imposing penalties on Baptist students,

            who cannot select an otherwise qualifying institution of their choice, and

            imposing liabilities directly on the MBC because of its religious conduct,

            contrary to the beliefs of most Baptists.

         112.        The Department’s requirement that the MBC sign, or authorize a

            signatory for, a federal agreement imposes civil liability and contractual

            obligations on a religious entity that has not voluntarily entered any federal

            program.

         113.        The Department’s May 15, 2025, proposal—allowing MBC to

            designate HLGU’s president to function as its agent—still compels MBC

            to take corporate action, acknowledge “ownership” and “control” it does




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            not have, express assent to a federal regulatory regime, and create an agency

            relationship that does not exist and is disallowed by its polity.

         114.       These actions conflict with HLGU’s beliefs and the Convention’s

            limited ecclesial structure, its legal status under Missouri law, and its

            religious commitment to autonomy from civil government in ecclesiastical

            matters.

         115.       If HLGU were to attempt to persuade the Convention to give up its

            trustee-selection rights to satisfy the Department’s requirement, it would

            violate its governing documents, its theological mission, and its religious

            integrity.

         116.       If HLGU fails to amend its PPA before its expiration in June 2026,

            the University will lose access to Title IV funding, including federal student

            loans and grants relied on by most of its student body.

         117.       Without access to Title IV programs, HLGU will be unable to

            operate as an accredited university and will face insolvency.

         118.       The regulation thus forces upon HLGU a direct choice between

            religious conviction and institutional survival, a burden the Constitution

            and federal law do not permit.

         119.       The Department applies this rule selectively. Institutions with self-

            perpetuating    boards,    hierarchical    denominational       oversight,   or

            government-appointed trustees are not subject to the same signature

            mandate.

         120.       In a similar case involving another Baptist university where a state

            denomination selects most trustees, the Department found that the




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            denomination did not have ownership, in apparent conflict with the decision

            about HLGU. See “Howard Payne Received DOE Clarification,”

            Baptist Standard, September 25, 2024, at

            https://baptiststandard.com/news/texas/howard-payne-university-

            receives-doe-clarification/ (last accessed May 27, 2025).

         121.       Religious colleges that adopt Baptist or congregational models—

            where leadership is selected by local churches or affiliated associations—

            bear the brunt of the Department’s enforcement.

         122.       By conditioning program eligibility on institutional governance

            models, the Department disfavors particular religious structures and

            penalizes longstanding forms of religious association.

         123.       The Department has other tools available to ensure fiscal

            responsibility, including letters of credit, compliance audits, and statutory

            remedies for fraud or misuse of funds. It need not, and cannot lawfully,

            burden religious polity to achieve its fiscal goals.

         124.       Absent judicial relief, HLGU will suffer irreparable harm to its

            religious exercise, its ability to serve students, and its continued existence

            as a religious institution of higher education.



                       Legal Theories Supporting Relief

         125.       The Department’s interpretation and enforcement of 34 C.F.R. §

            668.14(a)(3), as applied to HLGU, violates multiple provisions of federal

            law and the Constitution.




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         126.      First, the Department’s requirement that HLGU obtain a signature

            or formal designation from the Missouri Baptist Convention exceeds the

            authority granted by Congress under the Higher Education Act. The statute

            contemplates participation agreements only between the Secretary and the

            institution, not third-party religious associations.

         127.      Second, the Department’s interpretation is inconsistent with the

            regulatory text, in that the Department assumes the MBC is an “owner” of

            HLGU without any legal basis or individualized assessment.

         128.      Third, the regulation as interpreted and applied imposes a

            substantial burden on HLGU’s religious exercise, triggering heightened

            scrutiny under the Religious Freedom Restoration Act (RFRA), and fails to

            employ the least restrictive means of achieving any compelling

            governmental interest.

         129.       Fourth, the regulation interferes with HLGU’s religious autonomy

            and internal governance in violation of the First Amendment’s Free

            Exercise Clause and the ministerial exception, and discriminates against

            institutions based on denominational structure, in violation of both the First

            and Fifth Amendments.

         130.      Fifth, the Department’s rules and its application to HLGU are

            arbitrary, capricious, and procedurally defective under the Administrative

            Procedure Act. The Department failed to consider the impact on religious

            institutions and overlooked narrower alternatives already available under its

            existing regulations.




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         131.        Sixth, in violation of the “Major Questions” doctrine, the regulation

            intrudes into a traditional area of state law—nonprofit corporate

            governance—without clear congressional authorization, violating structural

            principles of federalism and the constitutional limits of Spending Clause

            legislation.

         132.        HLGU seeks declaratory and injunctive relief under each of these

            legal theories, as explained in the following Counts.



           COUNT I — VIOLATION OF THE ADMINISTRATIVE
         PROCEDURE ACT (ULTRA VIRES / CONTRARY TO LAW)
         133.        Plaintiff re-alleges and incorporates by reference ¶¶ 1 - 132 as if fully

            set forth herein.

         134.        The Administrative Procedure Act requires that a reviewing court

            “hold unlawful and set aside” agency action that is “not in accordance with

            law” or “in excess of statutory jurisdiction, authority, or limitations.” 5

            U.S.C. § 706(2)(A), (C).

         135.        The Regulation is a “rule” under the APA. 5 U.S.C. § 551(4) and

            constitutes “final agency action” reviewable by this Court under 5 U.S.C.

            § 704.

         136.        Under the Higher Education Act, only an “institution of higher

            education” and the Secretary of Education are authorized to enter into

            Program Participation Agreements. See 20 U.S.C. § 1094(a)(1).

         137.        Congress did not authorize the Secretary to require additional

            parties—such as religious associations, corporate members, or third-party




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            stakeholders—to sign Program Participation Agreements or assume liability

            under them.

         138.       The Department’s regulation at 34 C.F.R. § 668.14(a)(3), as

            interpreted and enforced, requires Plaintiff to obtain the signature of the

            Missouri Baptist Convention (MBC), or a representative designated by

            MBC, before Plaintiff may enter or update a participation agreement.

         139.       The Department’s enforcement of this regulation treats the MBC—

            a nonprofit religious convention with no ownership interest in HLGU—as

            an “entity with direct or indirect ownership” that “exercises control” over

            the institution, despite the absence of any statutory language or

            congressional intent supporting such a requirement.

         140.       The Missouri Baptist Convention is not a party to HLGU’s

            operations, does not hold an ownership or proprietary interest in the assets

            of HLGU, and does hold assets for HLGU; the MBC expresses the

            collective ecclesiastical judgment of local Baptist churches with respect to

            spiritually qualified trustee appointments, as ministers of the work assigned

            to the Institution.

         141.       By requiring HLGU to obtain the Convention’s signature or

            designation, the Department has extended the statutory scheme beyond the

            limits set by Congress, without clear legislative authorization.

         142.       The Regulation, and Defendants’ enforcement of it, further violates

            the APA and other controlling laws, because it substantially burdens the

            exercise of religion without being the least restrictive means of advancing a




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            compelling government interest in violation of the Religious Freedom

            Restoration Act, 42 U.S.C. § 2000bb-1, as discussed below.

         143.      The Regulation, and Defendants’ enforcement of it, impose

            impermissible burdens on the exercise of religion in violation of the First

            and Fifth Amendments of the U.S. Constitution, as discussed below.

         144.      This interpretation disrupts longstanding principles of nonprofit

            governance and religious autonomy and introduces liability for entities that

            Congress did not intend to regulate or bind contractually.

         145.      Because the Department lacks statutory authority to impose this co-

            signature requirement, the regulation is invalid on its face and as applied to

            HLGU.

         146.      Accordingly, the Department’s actions violate the Administrative

            Procedure Act and must be set aside pursuant to 5 U.S.C. § 706(2)(A) and

            (C).

          COUNT II — VIOLATION OF THE ADMINISTRATIVE
       PROCEDURE ACT (ARBITRARY AND CAPRICIOUS ACTION)
         147.      Plaintiff re-alleges and incorporates by reference ¶¶ 1 - 146 as if fully

            set forth herein.

         148.      The Administrative Procedure Act requires a reviewing court to

            “hold unlawful and set aside agency action” that is “arbitrary, capricious,

            [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A).

         149.      In promulgating and applying 34 C.F.R. § 668.14(a)(3), the

            Department failed to consider important aspects of the problem it




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            purported to address, including the impact of the regulation on religious

            institutions with member-based governance structures.

         150.       The Department also failed to account for narrower, less

            burdensome alternatives already available to ensure fiscal responsibility,

            including letters of credit, heightened monitoring, and targeted

            enforcement mechanisms.

         151.       In its enforcement of the regulation, the Department has treated

            similarly situated institutions unequally requiring co-signatures from

            religious associations like the Missouri Baptist Convention, while not

            requiring similar signatures from other parent entities, state-appointed

            trustees, or even similar Baptist religious bodies.

         152.       The Department has provided no reasoned explanation for applying

            the co-signature mandate to nonprofit religious corporate “members” who

            do not own or operate institutions, while exempting other forms of indirect

            influence.

         153.       The       Department’s   evolving    guidance    and   contradictory

            correspondence have further undermined the consistency and predictability

            of its regulatory interpretation, shifting from requiring direct signatures to

            conditional “designations,” without formally revising the rule or publishing

            clear criteria.

         154.       The Department’s enforcement letters to HLGU acknowledged

            that under Missouri law, MBC is not an “owner,” yet dismissed this legal

            framework without analysis or justification, claiming instead a self-defined




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            standard of “ownership” and “control” untethered to statutory text or

            governing corporate law.

         155.      The Department failed to meaningfully engage with objections

            submitted by affected institutions, including HLGU’s April 2024

            clarification request and May 2025 accommodation letter, both of which

            identified the religious and structural barriers to compliance.

         156.      By disregarding established nonprofit law, religious governance

            structures, and viable policy alternatives, the Department acted arbitrarily

            and capriciously in both its rulemaking and its enforcement.

         157.      Accordingly, the Department’s application and interpretation of 34

            C.F.R. § 668.14(a)(3) must be set aside under 5 U.S.C. § 706(2)(A).



         COUNT III — VIOLATION OF THE RELIGIOUS FREEDOM
                         RESTORATION ACT
         158.      Plaintiff re-alleges and incorporates by reference ¶¶ 1 - 157 as if fully

            set forth herein.

         159.      The Religious Freedom Restoration Act (RFRA) prohibits the

            federal government from substantially burdening a person’s exercise of

            religion unless it demonstrates that application of the burden is the least

            restrictive means of furthering a compelling governmental interest. 42

            U.S.C. §§ 2000bb-1(a)—(b).

         160.      Plaintiff HLGU is a religious nonprofit institution whose mission,

            governance, and operations are grounded in sincerely held religious beliefs,




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            including the historic Baptist principle of congregational polity and local

            church authority.

         161.      Under that polity, the Missouri Baptist Convention—a voluntary

            association of autonomous churches—selects HLGU’s trustees as a

            spiritual expression of collective doctrinal alignment. The Convention

            neither owns nor operates the University.

         162.      The University holds sincere religious beliefs that require it to

            submit to the judgment of its affiliated churches regarding the performance

            of its Trustees. These Trustees are responsible for ensuring that the

            University remains faithful to the tenets of the Baptist faith and for

            advancing those principles through its educational mission.

         163.      The Department of Education now requires HLGU to obtain either

            (a) the MBC’s signature on the Program Participation Agreement (PPA),

            or (b) an official designation from MBC authorizing a representative to bind

            the Convention to the agreement.

         164.      The Department’s demand that a religious convention take formal

            legal action to establish or acknowledge contractual liability to the federal

            government places a substantial burden on HLGU’s religious exercise.

         165.      That burden arises because the University cannot continue

            participating in Title IV programs—or submit new programs for approval—

            without compromising its religious structure or compelling ecclesiastical

            action from the Convention.

         166.      HLGU has already lost access to Pell Grant funding for its

            accredited prison education program and faces further institutional harm,




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            including potential insolvency—if the Department’s interpretation remains

            in effect.

         167.       The Department has not identified a compelling governmental

            interest that justifies applying this burden to HLGU and similarly

            structured institutions, nor has it showed that its interpretation of 34 C.F.R.

            § 668.14(a)(3) is the least restrictive means of achieving any such interest.

         168.       The federal government has long administered Title IV programs

            without requiring co-signatures from religious members or affiliates, and

            continues to rely on other, less burdensome tools—such as surety bonds,

            letters of credit, and heightened monitoring—to protect federal funds.

         169.       Indeed, the government can achieve no practical benefit toward a

            compelling interest by obtaining MBC’s agreement; the MBC normally

            holds no assets apart from its legal relationships to other church entities.

            The only “asset” the Convention has is the right to name other trustee-

            leaders, an ecclesiastical function which surely the Government cannot

            exercise.

         170.       The federal government does not require third-party signatures

            from many other private or state institutions, providing prima facie evidence

            of religious discrimination.

         171.       The Regulation created under the Biden administration imposes

            governmental coercive pressure on the University to change or violate its

            religious beliefs to participate in Title IV programs.

         172.       The Department’s actions therefore fail RFRA’s strict scrutiny

            standard.




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         173.      By substantially burdening Plaintiff’s religious exercise without

            meeting RFRA’s requirements, Defendants have violated 42 U.S.C. §

            2000bb-1.

         174.      The Court should therefore declare that the Regulation, or in the

            alternative the Higher Education Act and the Department’s implementing

            regulations, are unlawful and enjoin their application under 42 U.S.C. §

            2000bb-1(c), and award damages and attorneys’ fees under 42 U.S.C. §

            2000bb-1(c).




        COUNT IV — VIOLATION OF THE FREE EXERCISE CLAUSE
                   AND MINISTERIAL EXCEPTION
         175.      Plaintiff re-alleges and incorporates by reference ¶¶ 1 - 174 as if fully

            set forth herein.

         176.      The First Amendment to the United States Constitution prohibits

            Congress from making any law “respecting an establishment of religion, or

            prohibiting the free exercise thereof.” U.S. Const. amend. I.
         177.      The federal government may not interfere in a religious institution’s

            internal governance, particularly in matters of doctrine, polity, or the

            selection of religious leaders. See Hosanna-Tabor Evangelical Lutheran

            Church & Sch. v. EEOC, 565 U.S. 171 (2012); Our Lady of Guadalupe Sch. v.

            Morrissey-Berru, 591 U.S. 732 (2020).

         178.      HLGU exercises its religious beliefs by allowing the Missouri

            Baptist Convention—an association of local churches—to elect its trustees.




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         179.       The Trustees are “ministers” for purposes of the First

            Amendment’s “ministerial exception” doctrine.

         180.       The Supreme Court has found that “educating young people in their

            faith, inculcating its teachings, and training them to live their faith are

            responsibilities that lie at the very core of the mission of a private religious

            school.” Our Lady of Guadalupe Sch. v. Morrissey-Berru, 591 U.S. 732, 754,

            (2020).

         181.       Thus, the First Amendment protects the leaders of private religious

            schools, especially when their role is to oversee and provide religious

            education to students. The ministerial exception applies to “any employee

            who leads a religious organization, conducts worship services or important

            religious ceremonies or rituals, or serves as a messenger or teacher of its

            faith.” Id.

         182.       HLGU’s mission is to provide a Christian education, including

            teaching the faith. In order that its leaders be spiritually qualified, Baptists

            and Baptist institutions have long allowed churches to select the Trustees

            who carry out the Baptist educational mission of the University.

         183.       The Department’s interpretation of 34 C.F.R. § 668.14(a)(3)

            substantially burdens this religious exercise. It conditions Title IV eligibility

            on the Convention’s willingness to sign or designate a party to the

            University’s Program Participation Agreement.

         184.       This forces the University to choose between preserving its religious

            structure or maintaining access to essential federal financial aid programs.




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         185.       The Regulation imposes a unique burden on religious governance

            and discourages associations between religious bodies and affiliated schools.

         186.       The Department’s policy chills the University’s religious

            expression by penalizing its structure of church accountability—an

            expression of its doctrinal commitments.

         187.       This burden is neither neutral nor generally applicable. The

            Department:

                a. Permits secular and religious exemptions in other contexts;

                b. Exempts similarly situated institutions with self-perpetuating

                    boards;

                c. Applies the regulation through discretionary, case-by-case

                    determinations.

         188.       As applied, the Regulation discriminates among religious

            institutions by favoring certain denominational models over others.

         189.       The Department’s inconsistent enforcement and discretionary

            exemptions allow it to target particular religious forms of governance and

            association.

         190.       The Regulation is not supported by a compelling governmental

            interest, nor is it narrowly tailored to any such interest.

         191.       The Department’s enforcement infringes not only on the

            University’s free exercise rights, but also on its right to freely associate with

            a body of co-believing churches.




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         192.      Even if the Regulation were neutral, the Department’s refusal to

            accommodate the University’s religious beliefs still violates the First

            Amendment.

         193.      The Higher Education Act neither requires institutions to have any

            members at all, nor authorizes the Department to impose liability on

            religious associations that do not receiving federal funds under Title IV.

         194.      The Department’s actions exceed its lawful authority and impose

            unconstitutional conditions on Plaintiff’s religious exercise.

         195.      The Regulation, as interpreted and applied, violates the Free

            Exercise Clause and the church autonomy doctrine under the First

            Amendment.

         196.      Plaintiff is entitled to declaratory and injunctive relief to prevent

            further infringement of its constitutional rights.



        COUNT V — DENOMINATIONAL DISCRIMINATION (FIRST
                    AND FIFTH AMENDMENTS)
         197.      Plaintiff re-alleges and incorporates by reference ¶¶ 1 - 196 as if fully

            set forth herein.

         198.      The First Amendment to the U.S. Constitution prohibits the

            government from establishing religion or prohibiting the free exercise

            thereof. It also prohibits the government from favoring one denomination

            or religious structure over another. The Fifth Amendment guarantees due

            process and equal protection under federal law.




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         199.       The Department’s interpretation and enforcement of 34 C.F.R. §

            668.14(a)(3) discriminate among religious denominations based on their

            internal structures.

         200.       The Department’s regulations and implementation burden

            denominations such as Baptists—who adhere to a congregational polity in

            which affiliated churches select the trustees of religious colleges—while

            imposing no comparable burden on institutions in which trustees are self-

            perpetuating or government-appointed.

         201.       The Department has not imposed the Co-Signature Mandate on

            colleges whose trustees are named by multiple religious groups, or which

            are self-perpetuating. In those cases, the Department does not require the

            denomination or the appointing entity to sign or designate a signer for the

            PPA.

         202.       Nor has the Department imposed this mandate on religious or

            secular institutions whose governance structures are self-contained or lack

            “members,” even if those institutions maintain strong religious identities

            and affiliations.

         203.       This disparate treatment penalizes certain forms of religious

            association—particularly those that reflect decentralized, church-based

            governance structures such as that practiced by Baptist churches—and

            effectively rewards other religious traditions for adopting hierarchical or

            independent corporate models.

         204.       Such denominational favoritism violates the Establishment Clause,

            the Free Exercise Clause, and the Equal Protection component of the Fifth




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            Amendment. The Department’s actions are neither neutral nor generally

            applicable and fail to satisfy strict scrutiny under Fulton v. City of

            Philadelphia, 593 U.S. 522 (2021).

         205.         By conditioning HLGU’s eligibility for Title IV programs on the

            surrender of its religious polity—or by imposing on it regulatory burdens

            not shared by similarly situated religious institutions—the Department has

            violated the constitutional guarantees of religious equality and non-

            discrimination.

         206.         Plaintiff is entitled to declaratory and injunctive relief to prevent

            further enforcement of this unconstitutional discrimination.



      COUNT VI — VIOLATION OF CONSTITUTIONAL STRUCTURE
       AND MAJOR QUESTIONS DOCTRINE (TENTH AMENDMENT
                       AND FEDERALISM)
         207.         Plaintiff re-alleges and incorporates by reference ¶¶ 1 – 206 as if fully

            set forth herein.

         208.         The federal government is one of limited, enumerated powers. All

            others—including the regulation of corporate governance—are reserved to

            the States. See U.S. Const. amend. X.

         209.         The structure, powers, and liabilities of nonprofit corporations are

            created by state law. See CTS Corp. v. Dynamics Corp., 481 U.S. 69, 78–81

            (1987).




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         210.         No principle of corporate law is more established than a State’s

            authority to regulate its own corporations, including defining member rights

            and fiduciary duties. Id at 89.

         211.         “The longstanding prevalence of state regulation in [the area of

            corporate governance] suggests that, if Congress had intended to pre-empt

            all state laws on the topic, it would have said so explicitly.” Id. at 86.

         212.         The Department’s enforcement of 34 C.F.R. § 668.14(a)(3)—

            treating a religious “member” such as the Missouri Baptist Convention as

            a controlling or liable party—contradicts Missouri’s nonprofit governance

            framework.

         213.         By requiring such members to designate or become parties to federal

            contracts, the Department intrudes upon state-defined legal relationships

            and overrides settled corporate and religious governance.

         214.         No provision of the Higher Education Act clearly authorizes the

            Department to redefine nonprofit “membership” as equivalent to

            “ownership” or “control,” or to impose federal liability on third parties not

            receiving federal funds.

         215.         A “clear and manifest” statement is required before a federal law

            can preempt state corporate law or regulate in traditional areas of state

            concern. CTS, 481 U.S. at 78–79; Bond v. United States, 572 U.S. 844, 858

            (2014).

         216.         The Department’s novel interpretation also implicates the major

            questions doctrine. Rewriting core rules of nonprofit liability and religious

            governance is a matter of vast political and economic significance that




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             Congress must clearly authorize. See West Virginia v. EPA, 597 U.S. 697

             (2022).

         217.          Because Congress has not clearly delegated such power to the

             Department, the enforcement of this regulation exceeds constitutional

             bounds.

         218.          Plaintiff is entitled to declaratory and injunctive relief to prevent

             further federal intrusion into state-regulated nonprofit and religious

             governance, and to preserve the structural limits on agency authority.



                                     Prayer for Relief

      WHEREFORE, Plaintiff respectfully requests that this Court:
         A. Enter judgment for Plaintiff and against Defendants on all claims;

         B. Declare that 34 C.F.R. § 668.14(a)(3), as interpreted and enforced by the

             Department of Education to require the signature or designation of a

             religious “member” entity such as the Missouri Baptist Convention,

             exceeds the Department’s statutory authority and is invalid under the
             Administrative Procedure Act;

         C. Declare that Defendants’ interpretation and enforcement of 34 C.F.R. §

             668.14(a)(3) violate the Religious Freedom Restoration Act, the First and

             Fifth Amendments to the U.S. Constitution, and the constitutional

             principles of federalism and separation of powers;




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         D. Issue preliminary and permanent injunctive relief prohibiting Defendants,

              their officers, employees, agents, successors, and all people acting in

              concert with them from:

                 i.   Enforcing or threatening to enforce 34 C.F.R. § 668.14(a)(3) against

                      Plaintiff in a manner that requires the Missouri Baptist Convention

                      or any similar religious affiliate to sign or designate a signatory to the

                      Program Participation Agreement;

                ii.   Conditioning Plaintiff’s eligibility for Title IV funds on any action

                      by the Missouri Baptist Convention or similar religious entity;

               iii.   Taking any adverse action against Plaintiff based on its refusal or

                      inability to comply with the challenged requirement;

         E. Require Defendants to take all actions necessary to restore Plaintiff, to the

              extent practicable, to the position it would have occupied but for the

              unlawful conduct, including prompt approval of pending program

              amendments submitted by Plaintiff;

         F. Upon proper proof, award Plaintiff the lost Pell Grant revenue of $500,000;

         G. Award Plaintiff nominal damages for the violation of its rights under the

              Religious Freedom Restoration Act and the Constitution;

         H. Award Plaintiff its reasonable attorneys’ fees and costs under 42 U.S.C. §

              1988 and the applicable provisions of the Religious Freedom Restoration

              Act;

         I. Retain jurisdiction over this matter to ensure compliance with the Court’s

              orders and to address any future disputes arising under the judgment; and

         J.   Grant such other and further relief as the Court deems just and proper.




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                                            Respectfully submitted,
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